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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

WILLIE MCCASKILL,

       Plaintiff,                               CASE NO.: 8:15-CV-1559-T-33-TBM

-vs-

NAVIENT SOLUTIONS, INC., STUDENT
ASSISTANCE CORPORATION, and
NAVIENT CORPORATION,

       Defendants.
                                     /


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


          COMES NOW the Plaintiff, Willie McCaskill, and the Defendants, Navient

Solutions, Inc., Student Assistance Corporation, and Navient Corporation, pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each claim

and count therein asserted by Plaintiff against the Defendant, Navient Corporation, in

the above styled action, with Plaintiff and Defendants to bear their own attorney’s fees,

costs and expenses.

          Respectfully submitted this 10th day of February, 2016.

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